 Case 19-05234-jrs      Doc 1     Filed 06/22/19 Entered 06/22/19 15:21:42          Desc Main
                                  Document      Page 1 of 17



                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION


IN RE:                                    :
                                          :                CHAPTER 7 CASE
WEINSTOCK & SCAVO, P.C.,                  :
                                          :                NO. 12-80220
      Debtor.                             :
__________________________________________:
                                          :
WILLIAM J. LAYNG, JR., as chapter 7       :
Trustee for the Estate of                 :
WEINSTOCK & SCAVO, P.C.,                  :
                                          :
      Plaintiff,                          :
                                          :                 ADVERSARY PROCEEDING
                                          :
                                          :                 NO. ____________________
v.                                        :
                                          :
CHARLTON CARLOS LESTER, OTS, INC., :
JADE EYE 72 TRUST, TIE RAY TRUST,         :
and BMS REALTY, LLC,                      :
                                          :
      Defendants.                         :
                                          :


       COMPLAINT FOR TURNOVER OF PROPERTY OF THE ESTATE, FOR
      AVOIDANCE OF FRAUDULENT TRANSFERS, AND FOR OTHER RELIEF


       Plaintiff William J. Layng, Jr., as chapter 7 trustee for the Estate of Weinstock & Scavo,

P.C. (“Trustee”), files this Complaint against Defendants Charlton Carlos Lester (“Lester”), OTS,

Inc. (“OTS”), Jade Eye 72 Trust (“Jade Eye”), Tie Ray Trust (Tie Ray”) and BMS Realty, LLC

(BMS”), and alleges as follows:




                                               1
 Case 19-05234-jrs      Doc 1    Filed 06/22/19 Entered 06/22/19 15:21:42           Desc Main
                                 Document      Page 2 of 17



                                JURISDICTION AND VENUE

       1.     The Court has jurisdiction to adjudicate this matter. 28 U.S.C.§1334. This

adversary proceeding is properly before the Court under 28 U.S.C. §157, and is a core proceeding

pursuant to 28 U.S.C. §§157(b)(2)(A), (E), (H) and (O).

       2.     Venue properly lies in this Court.

       3.     William J. Layng, Jr. (“Plaintiff” or “Trustee”) is the duly authorized and acting

trustee in the bankruptcy case of Weinstock & Scavo, P.C. (“Debtor”).

                                           PARTIES

       4.     Defendant Lester is an individual resident of the State of Georgia subject to the

jurisdiction of this Court. He may be served in accordance with Federal Rule of Bankruptcy

Procedure 7004 at his residence address, 3434 Hamlin Square, S.W., Atlanta, Georgia 30331.

       5.     Defendant OTS is a Georgia corporation, and may be served in accordance with

Federal Rule of Bankruptcy Procedure 7004 by service upon its registered agent, Regina S.

Molden, located at 233 Peachtree Street, N.E., Suite 1245, Harris Tower, Atlanta, Georgia, 30303.

Lester owns 100% of the equity interests in OTS.

       6.     Defendant Jade Eye is purportedly a trust organized under a Trust Agreement dated

February 10, 2017 with no known trustee.

       7.     Defendant Tie Ray is purportedly a trust organized under a Trust Agreement dated

December 11, 2017 with no known trustee.

       8.     Defendant BMS is a Georgia limited liability company, and may be served in

accordance with Federal Rule of Bankruptcy Procedure 7004 by service upon its registered agent,

Regina S. Molden, located at 233 Peachtree Street, N.E., Suite 1245, Harris Tower, Atlanta,

Georgia, 30303. Lester owns a majority of the equity interests in BMS.



                                               2
 Case 19-05234-jrs      Doc 1     Filed 06/22/19 Entered 06/22/19 15:21:42           Desc Main
                                  Document      Page 3 of 17



                                   BACKGROUND FACTS

       9.      On December 4, 2012 (the "Petition Date"), Debtor filed a voluntary petition for

relief under Chapter 7 of the United States Bankruptcy Code (the "Bankruptcy Code"). Layng was

duly qualified and serves as Trustee.

       10.     On April 3, 2017, a judgment was entered in the Superior Court of Fulton County

in the case of OTS, Inc. d/b/a Omnitech Solutions and Omnitech Institute and Charlton Carlos

Lester v. Louis R. Cohen and Weinstock & Scavo, P.C., civil action file no. 2011CV205919 (the

“State Court Case”), against Defendant Lester in favor of the Debtor, in the principal amount of

$62,317.87, plus interest at the rate of 18%, which judgment is represented by a writ of fi. fa.

recorded at Lien Book 3945, page 281, in the records of the Superior Court of Fulton County.

Georgia; and represented by writ of fi. fa. recorded at Lien Book 1905, page 489 in the records of

the Superior Court of Dekalb County, Georgia (the “Lester Judgment”). The State Court Case was

commenced on September 19, 2011.

       11.     On June 13, 2017, a judgment was entered in the State Court Case, against

Defendant OTS in favor of the Debtor, in the principal amount of $112,996.00, plus litigation

expenses of $4,996.10 and post-judgment interest, which judgment is represented by a writ of fi.

fa. recorded at Lien Book 3978, page 157, in the records of the Superior Court of Fulton County.

Georgia; and represented by writ of fi. fa. recorded at Lien Book 1913, page 383 in the records of

the Superior Court of Dekalb County, Georgia (the “OTS Judgment”).

       12.     Lester coordinated and directed a scheme through numerous real property transfers

for no consideration that left him insolvent. In carrying out this scheme, Lester concealed his

actions so that his creditors could not have reasonably discovered what was transpiring.

       13.     By Warranty Deed dated February 10, 2017, and recorded October 16, 2017, at

Deed Book 58019, page 634, records of the Superior Court of Fulton County, Georgia, Lester

                                                3
 Case 19-05234-jrs         Doc 1    Filed 06/22/19 Entered 06/22/19 15:21:42         Desc Main
                                    Document      Page 4 of 17



attempted to transfer to Jade Eye real property known as 2225 Wallace Road, Atlanta, GA 30331

( “Wallace Road”). No consideration was paid for such transfer.

        14.     By Quit Claim Deed dated December 14, 2010, and recorded January 4, 2011, at

Deed Book 49722, page 600, records of the Superior Court of Fulton County, Georgia, Lester

transferred to BMS real property known as 1226 Byewood Lane, Atlanta, GA 30310 (“1226

Byewood Lane”). No consideration was paid for such transfer.

        15.     By Warranty Deed dated December 11, 2017, and recorded April 10, 2018, at Deed

Book 58625, page 231, records of the Superior Court of Fulton County, Georgia, BMS attempted

to transfer to Tie Ray the 1226 Byewood Lane property. No consideration was paid for such

transfer.

        16.     By Quit Claim Deed dated December 14, 2010, and recorded January 4, 2011, at

Deed Book 22304, page 176, records of the Superior Court of Dekalb County, Georgia, Lester

transferred to BMS real property known as 1529 Bellflower Court, Stone Mountain, GA 30088.

(“Bellflower Court”) No consideration was paid for such transfer.

        17.     By Quit Claim Deed dated December 14, 2010, and recorded January 4, 2011, at

Deed Book 22304, page 553, records of the Superior Court of Dekalb County, Georgia, Lester

transferred to BMS real property known as 1876 Wedgewood Drive, Stone Mountain, GA 30088.

(“Wedgewood Drive”) No consideration was paid for such transfer.

COUNT I – TURNOVER OF AMOUNTS DUE TO THE ESTATE UNDER THE LESTER
                 JUDGMENT AND THE OTS JUDGMENT


        18.     The allegations contained in paragraphs 1 through 17 are incorporated herein as if

fully restated in their entirety.

        19.     11 U.S.C §542(b) provides:



                                                 4
 Case 19-05234-jrs        Doc 1     Filed 06/22/19 Entered 06/22/19 15:21:42                 Desc Main
                                    Document      Page 5 of 17



                (b) Except as provided in subsection (c) or (d) of this section, an entity
       that owes a debt that is property of the estate and that is matured, payable on
       demand, or payable on order, shall pay such debt to, or on the order of, the trustee,
       except to the extent that such debt may be offset under section 553 of this title
       against a claim against the debtor. 11 U.S.C.A. § 542(b).
        20.     Trustee is entitled to an order directing that Defendants OTS and Lester

immediately pay to the bankruptcy estate all principal, interest and expenses due and owing under

the Lester Judgment and the OTS Judgment.

COUNT II – THE TRANSFER OF THE WALLACE ROAD PROPERTY TO JADE EYE
                  IS VOID UNDER O.C.G.A. § 53-12-25(a)
        21.     The allegations contained in paragraphs 1 through 20 are incorporated herein as if

fully restated in their entirety.


        22.     O.C.G.A. § 53-12-25 provides that:
                 (a) Transfer of property in trust shall require a transfer of legal title to the
        trustee. In any transfer of property or any interest in property, if a trust is named
        as a grantee, whether such trust is held under the laws of this state or of any other
        jurisdiction, then such transfer is deemed to have been made to the trustee of such
        trust as though the trustee of such trust had been named as grantee instead of the
        trust.
        Ga. Code Ann. § 53-12-25


        23.     The warranty deed from Lester to Jade Eye purporting to transfer title to the

Wallace Road property does not reflect the name of the trustee of Jade Eye. A deed is void and

invalid if it conveys property to a trust rather than to a trustee. Ford v. Reddick, 319 Ga. App. 482,

482, 735 S.E.2d 809 (2012)

        24.     The Trustee is entitled to an order voiding the transfer of the Wallace Road property

to Jade Eye and preserving it for the benefit of the estate.

        25.     Lester’s beneficial interest in Wallace Road is subject to the Lester Judgment, is

property of this bankruptcy estate pursuant to 11 U.S.C. §541, and subject to turnover.

                                                    5
 Case 19-05234-jrs         Doc 1    Filed 06/22/19 Entered 06/22/19 15:21:42           Desc Main
                                    Document      Page 6 of 17



        26.     Lester should be ordered to turnover the Wallace Road property to Trustee for

liquidation in satisfaction of the Lester Judgment.

      COUNT III- RESULTING TRUST UNDER O.C.G.A. §53-12-130 REGARDING
                   LESTER’S INTEREST IN WALLACE ROAD
        27.     The allegations contained in paragraphs 1 through 26 are incorporated herein as if

fully restated in their entirety.

        28.     When Lester transferred his interest in Wallace Road to Jade Eye, Lester intended

to retain a beneficial interest in Wallace Road titled in the name of Jade Eye.

        29.     A resulting trust is implied for the benefit of Lester, pursuant to O.C.G.A. §53-12-

130, and Lester retains a beneficial interest in Wallace Road subject to the bankruptcy estate’s

interest under the Lester Judgment.

        30.     Lester’s beneficial interest in Wallace Road is subject to the Lester Judgment, is

property of this bankruptcy estate pursuant to 11 U.S.C. §541, and subject to turnover.

        31.     Lester should be ordered to turnover the Wallace Road property to Trustee for

liquidation in satisfaction of the Lester Judgment.

COUNT IV – CONSTRUCTIVE TRUST UNDER TO O.C.G.A. §53-12-132 REGARDING
                LESTER’S INTEREST IN WALLACE ROAD

        32.     The allegations contained in paragraphs 1 through 31 are incorporated herein as if

fully restated in their entirety.

        33.     For reasons set forth herein and to be established at trial, Lester cannot enjoy the

beneficial interest in Wallace Road without violating principles of equity.

        34.     A constructive trust is implied for the benefit of Lester under O.C.G.A. §53-12-

132, and Lester retains a beneficial interest in Wallace Road subject to the Lester Judgment.

        35.     Lester’s beneficial interest in Wallace Road is subject to the Lester Judgment, is

property of this bankruptcy estate under 11 U.S.C. §541, and subject to turnover.

                                                 6
 Case 19-05234-jrs         Doc 1    Filed 06/22/19 Entered 06/22/19 15:21:42          Desc Main
                                    Document      Page 7 of 17



        36.     Lester should be ordered to turnover Wallace Road to Trustee for liquidation in

satisfaction of the Lester Judgment.

 COUNT V – AVOIDANCE OF TRANSFER UNDER APPLICABLE STATE LAW AND
     RECOVERY UNDER 11 U.S.C. § 550 REGARDING WALLACE ROAD

        37.     The allegations contained in paragraphs 1 through 36 are incorporated herein as if
fully restated in their entirety.

        38.    Lester’s transfer of Wallace Road to Jade Eye was made with actual intent to hinder,

delay, or defraud Lester’s creditors.

        39.    The underlying fraudulent intent of the transfer of Wallace Road is evidenced by

the following, among other things:

                (a) The Wallace Road transfer was to an insider;

                (b) Lester retained control of Wallace Road after the transfer;

                (c) Lester made numerous transfers with the intent to shield his assets from his

                    creditors and to become judgment proof; and

                (d) Lester received no consideration for the transfer of Wallace Road.


                (e) Before the transfer was made or the obligation was incurred, Lester and OTS

                    had been sued or threatened with suit;


        40.      The Trustee may avoid the transfer of Wallace Road under applicable state law

(O.C.G.A. §§18-2-74 and 18-2-77).

        41.     Under 11 U.S.C. §550, Trustee may recover Wallace Road, or, the value of such

        property, from Lester and Jade Eye.




                                                 7
 Case 19-05234-jrs         Doc 1    Filed 06/22/19 Entered 06/22/19 15:21:42           Desc Main
                                    Document      Page 8 of 17



    COUNT VI – THE TRANSFER OF THE 1226 BYEWOOD LANE PROPERTY BY
     LESTER TO BMS AND TIE RAY UNDER APPLICABLE STATE LAW AND
                     RECOVERY UNDER 11 U.S.C. § 550


        42.     The allegations contained in paragraphs 1 through 41 are incorporated herein as if
fully restated in their entirety.

        43.     Lester’s transfers of 1226 Byewood Lane to BMS and Tie Ray were made with

actual intent to hinder, delay, or defraud Lester’s creditors.

        44.     The underlying fraudulent intent of the transfer of 1226 Byewood Lane is

        evidenced by the following, among other things:

                (a) The 1226 Byewood Lane transfer was to an insider;

                (b) Lester retained control of 1226 Byewood Lane after the transfer;

                (c) Lester made numerous transfers with the intent to shield his assets from his

                    creditors and to become judgment proof; and

                (d) Lester received no consideration for the transfer of 1226 Byewood Lane.


                (e) Before the transfers were made or the obligations were incurred, Lester and

                    OTS had been sued or threatened with suit;


        45.     The Trustee may avoid the transfers of 1226 Byewood Lane under applicable state

        law (O.C.G.A. §§ 18-2-74, 18-2-75 and 18-2-77).

        46.     Under 11 U.S.C. § 550, Trustee may recover 1226 Byewood Lane, or, the value of

              such property, from Lester, BMS and Tie Ray.




                                                  8
 Case 19-05234-jrs        Doc 1     Filed 06/22/19 Entered 06/22/19 15:21:42              Desc Main
                                    Document      Page 9 of 17



COUNT VII – THE TRANSFER OF THE 1226 BYEWOOD LANE PROPERTY BY BMS
              TO TIE RAY IS VOID UNDER O.C.G.A. § 53-12-25(a)
        47.     The allegations contained in paragraphs 1 through 46 are incorporated herein as if

fully restated in their entirety.


        48.     O.C.G.A. § 53-12-25 provides that:
                (a) Transfer of property in trust shall require a transfer of legal title to the
        trustee. In any transfer of property or any interest in property, if a trust is named as
        a grantee, whether such trust is held under the laws of this state or of any other
        jurisdiction, then such transfer is deemed to have been made to the trustee of such
        trust as though the trustee of such trust had been named as grantee instead of the
        trust.
        Ga. Code Ann. § 53-12-25


        49.     The warranty deed from BMS to Tie Ray purporting to transfer title to the 1226

Byewood Lane property does not reflect the name of the trustee of Tie Ray. A deed is void and

invalid if it conveys property to a trust rather than to a trustee. Ford v. Reddick, 319 Ga. App. 482,

482, 735 S.E.2d 809 (2012)

        50.     The Trustee is entitled to an order voiding the transfer of the 1226 Byewood Lane

property to Tie Ray and preserving it for the benefit of the estate.

        51.     Lester’s and BMS’ beneficial interests in 1226 Byewood Lane are subject to the

Lester Judgment, are property of this bankruptcy estate pursuant to 11 U.S.C. §541, and subject to

turnover.

        52.     Lester, BMS and Tie Ray should be ordered to turnover the 1226 Byewood Lane

property to Trustee for liquidation in satisfaction of the Lester Judgment.




                                                   9
 Case 19-05234-jrs         Doc 1    Filed 06/22/19 Entered 06/22/19 15:21:42           Desc Main
                                    Document     Page 10 of 17



     COUNT VIII- RESULTING TRUST UNDER O.C.G.A. §53-12-130 REGARDING
                 LESTER’S INTEREST IN 1226 BYEWOOD LANE


        53.     The allegations contained in paragraphs 1 through 52 are incorporated herein as if

fully restated in their entirety.

        54.     When Lester transferred his interest in 1226 Byewood Lane to BMS and

subsequently to Tie Ray, Lester intended to retain a beneficial interest in 1226 Byewood Lane

titled in the name of Tie Ray.

        55.     A resulting trust is implied for the benefit of Lester pursuant to O.C.G.A. §53-12-

130, and Lester retains a beneficial interest in 1226 Byewood Lane subject to the bankruptcy

estate’s interest under the Lester Judgment.

        56.     Lester’s beneficial interest in 1226 Byewood Lane is subject to the Lester

Judgment, is property of this bankruptcy estate pursuant to 11 U.S.C. §541, and subject to turnover.

        57.     Lester should be ordered to turnover the 1226 Byewood Lane property to Trustee

for liquidation in satisfaction of the Lester Judgment.

COUNT IX – CONSTRUCTIVE TRUST UNDER TO O.C.G.A. §53-12-132 REGARDING
              LESTER’S INTEREST IN 1226 BYEWOOD LANE

        58.     The allegations contained in paragraphs 1 through 57 are incorporated herein as if

fully restated in their entirety.

        59.     For reasons set forth herein and to be established at trial, Lester cannot enjoy the

beneficial interest in 1226 Byewood Lane without violating principles of equity.

        60.     A constructive trust is implied for the benefit of Lester under O.C.G.A. § 53-12-

132, and Lester retains a beneficial interest in 1226 Byewood Lane subject to the Lester Judgment.

        61.     Lester’s beneficial interest in 1226 Byewood Lane is subject to the Lester Judgment

and is property of this bankruptcy estate under 11 U.S.C. §541.


                                                 10
 Case 19-05234-jrs         Doc 1    Filed 06/22/19 Entered 06/22/19 15:21:42            Desc Main
                                    Document     Page 11 of 17



        62.     Lester should be ordered to turnover 1226 Byewood Lane to Trustee for

liquidation in satisfaction of the Lester Judgment.

      COUNT X- RESULTING TRUST UNDER O.C.G.A. §53-12-130 REGARDING
                LESTER’S INTEREST IN BELLFLOWER COURT


        63.     The allegations contained in paragraphs 1 through 62 are incorporated herein as if

fully restated in their entirety.

        64.     When Lester transferred his interest in Bellflower Court to BMS, Lester intended

to retain a beneficial interest in Bellflower Court titled in the name of BMS.

        65.     A resulting trust is implied for the benefit of Lester pursuant to O.C.G.A. §53-12-

130, and Lester retains a beneficial interest in Bellflower Court subject to the bankruptcy estate’s

interest under the Lester Judgment.

        66.     Lester’s beneficial interest in Bellflower Court is subject to the Lester Judgment, is

property of this bankruptcy estate pursuant to 11 U.S.C. §541, and subject to turnover.

        67.     Lester should be ordered to turnover the Bellflower Court property to Trustee for

liquidation in satisfaction of the Lester Judgment.

COUNT XI – CONSTRUCTIVE TRUST UNDER TO O.C.G.A. §53-12-132 REGARDING
              LESTER’S INTEREST IN BELLFLOWER COURT

        68.     The allegations contained in paragraphs 1 through 67 are incorporated herein as if

fully restated in their entirety.

        69.     For reasons set forth herein and to be established at trial, Lester cannot enjoy the

beneficial interest in Bellflower Court without violating principles of equity.

        70.     A constructive trust is implied for the benefit of Lester under O.C.G.A. § 53-12-

132, and Lester retains a beneficial interest in Bellflower Court subject to the Lester Judgment.

        71.     Lester’s beneficial interest in Bellflower Court is subject to the Lester Judgment

                                                  11
 Case 19-05234-jrs         Doc 1    Filed 06/22/19 Entered 06/22/19 15:21:42          Desc Main
                                    Document     Page 12 of 17



and is property of this bankruptcy estate under 11 U.S.C. §541.

        72.     Lester should be ordered to turnover Bellflower Court to Trustee for liquidation in

satisfaction of the Lester Judgment.

   COUNT XII – AVOIDANCE OF TRANSFER UNDER APPLICABLE STATE LAW
   AND RECOVERY UNDER 11 U.S.C. § 550 REGARDING BELLFLOWER COURT

        73.     The allegations contained in paragraphs 1 through 72 are incorporated herein as if
fully restated in their entirety.

        74.    Lester’s transfer of Bellflower Court to BMS was made with actual intent to hinder,

delay, or defraud Lester’s creditors.

        75.    The underlying fraudulent intent of the transfer of Bellflower Court is evidenced by

the following, among other things:

                (a) The Bellflower Court transfer was to an insider;

                (b) Lester retained control of Bellflower Court after the transfer;

                (c) Lester made numerous transfers with the intent to shield his assets from his

                    creditors and to become judgment proof; and

                (d) Lester received no consideration for the transfer of Bellflower Court.


                (e) Before the transfer was made or obligation was incurred, Lester and OTS had

                    been sued or threatened with suit;


        76.    The Trustee may avoid the transfer of Bellflower Court under applicable state law

(O.C.G.A. §§ 18-2-74, 18-2-75 and 18-2-77).

        77.    Under 11 U.S.C. § 550, Trustee may recover Bellflower Court, or, the value of such

property, from Lester and BMS.




                                                 12
 Case 19-05234-jrs         Doc 1    Filed 06/22/19 Entered 06/22/19 15:21:42           Desc Main
                                    Document     Page 13 of 17



    COUNT XIII- RESULTING TRUST UNDER O.C.G.A. §53-12-130 REGARDING
                LESTER’S INTEREST IN WEDGEWOOD DRIVE
        78.     The allegations contained in paragraphs 1 through 77 are incorporated herein as if

fully restated in their entirety.

        79.     When Lester transferred his interest in Wedgewood Drive to BMS, Lester

intended to retain a beneficial interest in Wedgewood Drive titled in the name of BMS.

        80.     A resulting trust is implied for the benefit of Lester pursuant to O.C.G.A. §53-12-

130, and Lester retains a beneficial interest in Wedgewood Drive subject to the bankruptcy

estate’s interest under the Lester Judgment.

        81.     Lester’s beneficial interest in Wedgewood Drive is subject to the Lester

Judgment, is property of this bankruptcy estate pursuant to 11 U.S.C. §541, and subject to

turnover.

        82.     Lester should be ordered to turnover the Wedgewood Drive property to Trustee

for liquidation in satisfaction of the Lester Judgment.

        COUNT XIV – CONSTRUCTIVE TRUST UNDER TO O.C.G.A. §53-12-132
           REGARDING LESTER’S INTEREST IN WEDGEWOOD DRIVE

        83.     The allegations contained in paragraphs 1 through 82 are incorporated herein as if

fully restated in their entirety.

        84.     For reasons set forth herein and to be established at trial, Lester cannot enjoy the

beneficial interest in Wedgewood Drive without violating principles of equity.

        85.     A constructive trust is implied for the benefit of Lester under O.C.G.A. § 53-12-

132, and Lester retains a beneficial interest in Wedgewood Drive.

        86.     Lester’s beneficial interest in Wedgewood Drive is subject to the Lester Judgment,

is property of this bankruptcy estate under 11 U.S.C. §541, and subject to turnover.



                                                 13
 Case 19-05234-jrs         Doc 1    Filed 06/22/19 Entered 06/22/19 15:21:42          Desc Main
                                    Document     Page 14 of 17



        87.     Lester should be ordered to turnover Wedgewood Drive to Trustee for liquidation

in satisfaction of the Lester Judgment.


   COUNT XV – AVOIDANCE OF TRANSFER UNDER APPLICABLE STATE LAW
   AND RECOVERY UNDER 11 U.S.C. § 550 REGARDING WEDGEWOOD DRIVE

        88.     The allegations contained in paragraphs 1 through 87 are incorporated herein as if
fully restated in their entirety.

        89.    Lester’s transfer of Wedgewood Drive to BMS was made with actual intent to

hinder, delay, or defraud Lester’s creditors.

        90.    The underlying fraudulent intent of the transfer of Wedgewood Drive is evidenced

By the following, among other things:

                (a) The Wedgewood Drive transfer was to an insider;

                (b) Lester retained control of Wedgewood Drive after the transfer;

                (c) Lester made numerous transfers with the intent to shield his assets from his

                    creditors and to become judgment proof; and

                (d) Lester received no consideration for the transfer of Bellflower Court.


                (e) Before the transfer was made or obligation was incurred, Lester and OTS had

                    been sued or threatened with suit;


        91.    The Trustee may avoid the transfer of Wedgewood Drive under applicable state

law (O.C.G.A. §§ 18-2-74, 18-2-75 and 18-2-77).

        92.    Under 11 U.S.C. § 550, Trustee may recover Wedgewood Drive, or, the value of

such property, from Lester and BMS.

                        COUNT XVI – APPOINTMENT OF RECEIVER

        93.    The allegations contained in paragraphs 1 through 92 are incorporated herein as if

                                                 14
 Case 19-05234-jrs         Doc 1    Filed 06/22/19 Entered 06/22/19 15:21:42           Desc Main
                                    Document     Page 15 of 17



fully restated in their entirety.

        94.   Pending turnover of the Wallace Road, 1226 Byewood Lane, Bellflower Court and

Wedgewood Drive properties, the Court should, under general principles of equity, appoint a

receiver to oversee the collection of rents, payments of debt service, taxes and other expenses

associated with the properties.

        WHEREFORE, Trustee prays as follows:

        (a)         Under Count I - that the Court enter an order directing that Defendants OTS

                    and Lester immediately pay to the bankruptcy estate all principal, interest and

                    expenses due and owing under the Lester Judgment and the OTS Judgment;

        (b)         Under Count II - that the Court enter an order voiding the transfer of the

                    Wallace Road property to Jade Eye preserving it for the benefit of the estate

                    and order that Lester turnover the Wallace Road property to the Trustee for

                    liquidation in satisfaction of the Lester Judgment;

        (c)          Under Count III - that the Court impose a resulting trust on the Wallace Road

                     property for the benefit of the bankruptcy estate and order Lester to turnover

                     Wallace Road to Trustee for liquidation in satisfaction of the Lester Judgment;

        (d)          Under Count IV - that the Court impose a constructive trust on the Wallace

                     Road property for the benefit of the bankruptcy estate and order Lester to

                     turnover Wallace Road to Trustee for liquidation in satisfaction of the Lester

                     Judgment;

        (e)         Under Count V – that the Court avoid the transfer of the Wallace Road property

                    and order Lester to turnover Wallace Road to Trustee for liquidation in

                    satisfaction of the Lester Judgment;

        (f)         Under Count VI - that the Court avoid the transfer of 1226 Byewood Lane and

                                                 15
Case 19-05234-jrs   Doc 1   Filed 06/22/19 Entered 06/22/19 15:21:42             Desc Main
                            Document     Page 16 of 17



              order Lester to turnover Byewood Lane to Trustee for liquidation in satisfaction

              of the Lester Judgment;

     (g)      Under Count VII - voiding the transfer of the 1226 Byewood Lane property to

              Tie Ray and preserving it for the benefit of the estate.

     (h)      Under Count VIII - that the Court impose a resulting trust on the 1226 Byewood

              Lane property for the benefit of the bankruptcy estate and order Lester to

              turnover 1226 Byewood Lane to Trustee for liquidation in satisfaction of the

              Lester Judgment;

     (i)      Under Count IX - that the Court impose a constructive trust on 1226 Byewood

              Lane for the benefit of the bankruptcy estate and order Lester to turnover 1226

              Byewood Lane to Trustee for liquidation in satisfaction of the Lester Judgment;

     (j)      Under Count X - that the Court impose a resulting trust on the Bellflower Court

              for the benefit of the bankruptcy estate and order Lester to turnover Bellflower

              Court to Trustee for liquidation in satisfaction of the Lester Judgment;

     (k)      Under Count XI - that the Court impose a constructive trust on Bellflower Court

              for the benefit of the bankruptcy estate and order Lester to turnover Bellflower

              Court to Trustee for liquidation in satisfaction of the Lester Judgment;

     (l)      Under Count XII - that the Court avoid the transfer of Bellflower Court and

              order Lester to turnover Bellflower Court to Trustee for liquidation in

              satisfaction of the Lester Judgment;

     (m)      Under Count XIII - that the Court impose a constructive trust on Wedgewood

              Drive for the benefit of the bankruptcy estate and order Lester to turnover

              Bellflower Court to Trustee for liquidation in satisfaction of the Lester

              Judgment;

                                            16
Case 19-05234-jrs     Doc 1     Filed 06/22/19 Entered 06/22/19 15:21:42           Desc Main
                                Document     Page 17 of 17



      (n)        Under Count XIV - that the Court impose a constructive trust on Wedgewood

                 Drive for the benefit of the bankruptcy estate and order Lester to turnover

                 Wedgewood Drive to Trustee for liquidation in satisfaction of the Lester

                 Judgment;

      (o)        Under Count XV - that the Court avoid the transfer of Wedgewood Drive and

                 order Lester to turnover Wedgewood Drive to Trustee for liquidation in

                 satisfaction of the Lester Judgment;

      (p)        Under Count XVI – that the Court appoint a receiver to oversee the collection

                 of rents, payments of debt service, taxes and other expenses associated with

                 Wallace Road, 1226 Byewood Lane, Bellflower Court and Wedgewood Drive

                 pending turnover to Trustee; and

      (q)        That the Court grant such other relief as is just and proper.

      Respectfully submitted, this 22nd day of June 2019.


                                                            THEODORE N. STAPLETON, P.C.
                                                            /s/ Theodore N. Stapleton
                                                            Theodore N. Stapleton
                                                            Georgia Bar No. 675850
                                                            Attorneys for Chapter 7 Trustee


Suite 100-B
2802 Paces Ferry Road, SE
Atlanta, GA 30339
Telephone: (770) 436-3334
tstaple@tstaple.com




                                               17
